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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Fairly Odd Treasures, LLC                     )
                                              )
v.                                            )       Case No. 1:18-cv- 7719
                                              )
THE PARTNERSHIPS and                          )       Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )       Magistrate: Susan E. Cox
                                              )
                                              )
                                              )


                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Fairly Odd Treasures, voluntarily

dismiss any and all claims against defendants with prejudice:

 Doe   Merchant Name                                                       Merchant ID
 188   domecenter                                                          56e10d6c773d7e16b0d7c809
 211   enjoytime1                                                          56e23eb831dc81169ad5ff93
 251   gentleman_gary                                                      56e271df278cda16867f73fe
 393   littlestar08                                                        583ea008e88f6374bd73f16c
 472   oasisinternationalgroup                                             53a43418d9113914ed7c76ed
 574   sihengshangwuxinxizixunshanghaiyouxianggongsi                       54acc809d630ed1ad298bc96
 594   summer7wines                                                        583d22a9e88f633af427d3e2
 672   wisdomtarget                                                        56cd7bbf8bd26e4c656af343
 809 深圳金丰如蓝贸易有限公司733ac9ec797c11e59218065c65e6aa01                          562a1f586eabd71e8d432a0a

Dated: June 3, 2019
                                              Respectfully submitted,


                                              By:       s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

                                                      David Gulbransen (#6296646)
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